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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                            CRIMINAL ACTION NO. 05-10037-GAO-4

                                 UNITED STATES OF AMERICA

                                                 v.

                                       JOSE RUVALCABA,
                                           Defendant.


                                      OPINION AND ORDER
                                          May 29, 2013

O’TOOLE, D.J.

          Jose Ruvalcaba was convicted by a jury of conspiracies to distribute, and to possess with

intent to distribute, methamphetamine and to launder money. He was sentenced to a mandatory

term of life imprisonment pursuant to 21 U.S.C. § 841(b). His conviction was affirmed on direct

appeal.

          The petitioner now seeks to have his sentence vacated on two grounds. 1 First, he

contends that under Melendez-Diaz v. Massachusetts, 557 U.S. 305 (2009), the government

should have produced “expert analysts to testify as to the forensic evidence that identified the

alleged illegal substance.” (Pet’r’s Mot. to Vacate under 28 U.S.C. 2255 at 4 (dkt. no. 316).)

Second, he asserts that his sentence should not have been enhanced by two prior convictions

because those convictions were neither “aggravated felonies” nor “serious drug offenses.”




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 He calls his motion a “petition for a writ of habeas corpus” and objects that it is not brought
under 28 U.S.C. § 2255, apparently because he hopes to preserve his opportunity to bring a later
§ 2255 motion unencumbered by the problem of its being deemed a second and successive
petition. Despite his maneuver, it is clear that he seeks relief of the type authorized by § 2255,
and his motion is properly understood as having been made under that authority.
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       There is no sound basis for an argument that his counsel provided ineffective assistance

through a failure to raise such an objection. There was ample, properly admissible evidence to

establish the nature of the drugs, including direct testimony by two co-conspirators. Moreover,

Ruvalcaba has not pointed to any evidence that objection by counsel to testimony about the

nature of these substances would have been a fruitful avenue of defense. Indeed, the Court in

Melendez-Diaz itself acknowledged that it is often sound trial strategy for a defense attorney to

refrain from raising such an objection. 557 U.S. at 328.

       The petitioner also fails to explain why it is relevant whether his two prior state

convictions are “aggravated felonies” or “serious drug offenses.” These requirements arise from

the Immigration and Nationality Act and the Armed Career Criminal Act, respectively, and it is

clear from the record that neither was invoked in the petitioner’s sentencing. His prior

convictions were “felony drug offense[s]” under 21 U.S.C. § 841(b) identified in an information

filed in accordance with 21 U.S.C. § 851 and were properly considered in the Court’s

determination that a mandatory minimum sentence of life was required by statute.

       For these reasons, the petitioner’s motion to vacate his sentence (dkt. nos. 316, 335, 349)

is DENIED.

       Further, because he has not “made a substantial showing of the denial of a constitutional

right” pursuant to 28 U.S.C. § 2253(c)(2), a certificate of appealability will not issue.

       It is SO ORDERED.

                                                      /s/ George A. O’Toole, Jr.
                                                      United States District Judge




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